           Case 3:22-cv-05417-JHC Document 19 Filed 07/12/22 Page 1 of 5




1                                                           THE HONORABLE JOHN H. CHUN
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     Attorney for Plaintiff, Michael Edmondson
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7                             UNITED STATES DISTRICT COURT

8                          WESTERN DISTRICT OF WASHINGTON
                                           AT TACOMA
9
        MICHAEL EDMONDSON,                                NO. 3:22−cv−05417−JHC
10

11                        Plaintiff,
                  v.                                      STIPULATED MOTION TO
12                                                        EXTEND DEADLINES – ECF NO. 17
13      TXU ENERGY RETAIL COMPANY, LLC,
14      a Texas Limited Liability Company,
        EXPERIAN INFORMATION SOLUTIONS,
15      INC., an Ohio Corporation, TRANS UNION
        LLC, a Delaware Limited Liability
16      Company, and EQUIFAX INFORMATION
        SERVICES, LLC, a Georgia Limited
17      Liability Company,
18
                          Defendants.
19
                                       STIPULATED MOTION
20
           This Court issued an initial scheduling order containing the following deadlines:
21

22            1) Deadline for FRCP 26(f) Conference: 7/13/2022

23            2) Initial Disclosures Pursuant to FRCP 26(a)(1): 7/27/2022; and

24

25
     STIPULATED MOTION TO EXTEND                    1      Robert Mitchell, Attorney at Law, PLLC
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             Case 3:22-cv-05417-JHC Document 19 Filed 07/12/22 Page 2 of 5




1               3) Combined Joint Status Report and Discovery Plan as Required by FRCP 26(f)
2                     and Local Civil Rule 26(f): 8/3/2022. See ECF No. 17, p. 1.
3
            The parties, Plaintiff, MICHAEL EDMONDSON, and Defendants, EXPERIAN
4
     INFORMATION SOLUTIONS, INC. (“Experian”), TRANS UNION LLC, (“TransUnion”),
5
     EQUIFAX INFORMATION SERVICES, LLC, a Georgia Limited Liability Company, in
6

7    compliance with the Court’s Scheduling Order (ECF No. 17), began discussions required by the

8    Court’s Order.

9           However, Plaintiff has experienced difficulty effecting service of process upon
10
     Defendant, TXU ENERGY RETAIL COMPANY, LLC, a Texas Limited Liability Company.
11
            TXU will be served out-of-state, which means TXU will have a minimum of 60 days to
12
     answer the complaint.
13
            The parties therefore respectfully request that this Court extend the above-referenced
14

15   deadlines by at least 60 days.

16          A proposed order is attached hereto.
17
     Dated this 12th day of July, 2022.
18
                         S//Robert W. Mitchell
19
                         Robert W. Mitchell (WSBA # 37444)
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23                       Attorney for Plaintiff, MICHAEL EDMONDSON

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          Case 3:22-cv-05417-JHC Document 19 Filed 07/12/22 Page 3 of 5




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            Case 3:22-cv-05417-JHC Document 19 Filed 07/12/22 Page 4 of 5




 1                                    ORDER
 2          THIS COURT having reviewed the parties’ stipulated motion, and finding good cause
 3
     shown, HEREBY ORDERS that the dates set forth in ECF No. 17 shall be extended by at least
 4
     60 days.
 5
            THE CLERK OF THE COURT is directed to issue a new initial scheduling order.
 6

 7




                                        A
 8                       DATED this July 12th , 2022.

 9

10
                                       THE HONORABLE JOHN H. CHUN
11                                     United States District Judge

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      STIPULATED MOTION TO EXTEND                 4     Robert Mitchell, Attorney at Law, PLLC
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            Case 3:22-cv-05417-JHC Document 19 Filed 07/12/22 Page 5 of 5




 1                                  CERTIFICATE OF SERVICE
 2          I hereby certify under penalty of perjury under the laws of the State of Washington that
 3
     on the 12th day of July, 2022, I electronically filed the foregoing with the Clerk of Court using
 4
     the CM/ECF system which will send notification of such filing to the following:
 5
                    A. For Defendant, Experian
 6

 7                      Sara J. Wadsworth , WSBA No. 55952
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11                  B. For Defendant, Trans Union

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                    C. For Defendant, Equifax
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20                      Telephone:       (206) 946-4910
                        Email:           aescobar@seyfarth.com
21
            Dated this 12th day of July, 2022, at Memphis, Tennessee.
22

23                                         S//Robert Mitchell
                                           ROBERT MITCHELL (WSBA No. 37444)
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